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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
 PRODUCTS LIABILITY                                                                   20-MD-2924
 LITIGATION
                                                           JUDGE ROBIN L ROSENBERG
                                                   MAGISTRATE JUDGE BRUCE REINHART

 __________________________________/

 THIS DOCUMENT RELATES TO:                                     JURY TRIAL DEMANDED
  MARINA SPEKTOR



 __________________________________
 (Plaintiff Name(s))

                             SHORT-FORM COMPLAINT - VERSION 2

        The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Amended Master Personal Injury Complaint (“AMPIC”) in In re: Zantac (Ranitidine)

 Products Lability Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form

 Complaint - Version 2 as permitted by Pretrial Order No. 31 and as modified by the Court's

 Orders regarding motions to dismiss [DE 2532, 2512, 2513, 2515, and 2016].

         Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

         Plaintiff(s), by counsel, allege as follows:

                        I.      PARTIES, JURISDICTION, AND VENUE

     A. PLAINTIFF(S)

         1.                   MARINA SPEKTOR
                 Plaintiff(s) _________________________________________________________
                 (“Plaintiff(s)”) brings this action (check the applicable designation):

                         ✘      On behalf of [himself/herself];

                                                    1
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                               In representative capacity as the __________________, on behalf
                               of     the     injured     party,     (Injured     Party’s     Name)
                               ___________________.

        2.      Injured Party is currently a resident and citizen of (City,                    State)
                 Brooklyn          NY
                _________________________ and claims damages as set forth below.

                                                        —OR—

                Decedent died on (Month, Day, Year) ____________________. At the time of
                Decedent’s death, Decedent was a resident and citizen of (City, State)
                _________________________.

 If any party claims loss of consortium,

        3.      _________________ (“Consortium Plaintiff”) alleges damages for loss of
                consortium.

        4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                citizen and resident of (City, State) _________________________.

        5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                _________________________.



    B. DEFENDANT(S)


        6.      Plaintiff(s) name(s) the following Defendants from the Amended Master
                Personal Injury Complaint in this action:

                   a. Brand-Name Manufacturers:




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                b. Generic Manufacturers:
                    Amneal Pharmaceuticals of New York, LLC; L. Perrigo Co.; Taro Pharmaceuticals
                    U.S.A., Inc.; Strides Pharma, Inc.; Glenmark Pharmaceuticals, Inc., USA; Sandoz Inc.;
                    Apotex Corporation; Dr. Reddy's Laboratories Inc.; Sun Pharmaceutical Industries, Inc.
                    f/k/a Ranbaxy Pharmaceuticals Inc.; Par Pharmaceutical Inc.




                c. Distributors and Repackager:
                    Geri-Care Pharmaceuticals Corp.; Wockhardt, Ltd.




                d. Retailers:




                e. Others Not Named in the AMPIC:




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    C. JURISDICTION AND VENUE


       7.       Identify the Federal District Court in which Plaintiff(s) would have filed this action
                in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
                Court to which their original action was removed]:

                ______________
                Southern       District of _______
                                           NY



       8.       Jurisdiction is proper upon diversity of citizenship.


                                      II.     PRODUCT USE


        9.      The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                        ✘       By prescription

                        ✘       Over the counter

        10.     The Injured Party used Zantac and/or generic ranitidine from approximately
                              Sep   2011
                (month, year) _______________    Sep   2014
                                              to _______________.



                                   III.     PHYSICAL INJURY


        11.     As a result of the Injured Party’s use of the medications specified above, [he/she]
                was diagnosed with the following specific type of cancer (check all that apply):
    Check all                       Cancer Type                              Approximate Date of
      that                                                                       Diagnosis
     apply
                BLADDER CANCER

                BREAST CANCER

                COLORECTAL/INTESTINAL CANCER

                ESOPHAGEAL CANCER




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     Check all                        Cancer Type                              Approximate Date of
       that                                                                        Diagnosis
      apply
                  GASTRIC CANCER

                  KIDNEY CANCER

                  LIVER CANCER

                  LUNG CANCER

                  PANCREATIC CANCER

                  PROSTATE CANCER

         ✘        OTHER CANCER: THYROID CANCER                              Aug       2       2018

                  DEATH (CAUSED BY CANCER)


          12.       Defendants, by their actions or inactions, proximately caused the injuries to
                    Plaintiff(s)

                               IV.     CAUSES OF ACTION ASSERTED

          13.     The following Causes of Action asserted in the Amended Master Personal Injury
                  Complaint are asserted against the specified defendants in each class of
                  Defendants enumerated therein, and the allegations with regard thereto are adopted
                  in this Short Form Complaint by reference.

          14.     By checking the appropriate causes of action below, Plaintiff(s) assert these causes
                  of action based upon the law and applicable Sub-Counts of the following state(s):1



       Check      Count                       Cause of Action                        States for which
       all that                                                                      the cause of action
       apply                                                                         was asserted in
                                                                                     the AMPIC
         ✘           I     Strict Products Liability – Failure to Warn through       All States and
                           Warnings and Precautions (Against Brand-Name              Territories, Except
                           Manufacturer Defendants)                                  DE, IA, MA, NC,
                                                                                     PA, and VA
 1
   In selecting the relevant states above, Plaintiffs reserve all rights to argue choice of law issues at
 a later time.
                                                     5
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     Check      Count                   Cause of Action                     States for which
     all that                                                               the cause of action
     apply                                                                  was asserted in
                                                                            the AMPIC
       ✘         II     Negligence – Failure to Warn through Warnings       All States and
                        and Precautions (Against Brand-Name                 Territories, Except
                        Manufacturer Defendants)                            LA, NJ, OH, and
                                                                            WA
       ✘         III    Strict Products Liability – Failure to Warn through All States and
                        Proper Expiration Dates (Against Brand-Name and Territories, Except
                        Generic Manufacturer Defendants)                    DE, IA, MA, NC,
                                                                            PA, and VA
       ✘         IV     Negligence – Failure to Warn through Proper         All States and
                        Expiration Dates (Against Brand-Name and            Territories, Except
                        Generic Manufacturer Defendants)                    LA, NJ, OH, OK,
                                                                            and WA
       ✘         V      Negligence - Failure to Warn Consumers through      CA, DE, DC, HI,
                        the FDA (Against Brand-Name and Generic             IN, KY, LA, MD,
                        Manufacturer Defendants)                            MA, MN, MO,
                                                                            NV, NY, OR, and
                                                                            PA
       ✘         VI     Strict Products Liability – Design Defect Due to    All States and
                        Warnings and Precautions (Against Brand-Name        Territories, Except
                        Manufacturer Defendants)                            DE, IA, MA, NC,
                                                                            PA, and VA
       ✘         VII    Strict Products Liability – Design Defect Due to    All States and
                        Improper Expiration Dates (Against Brand-Name       Territories, Except
                        and Generic Manufacturer Defendants)                DE, IA, MA, NC,
                                                                            PA, and VA
                VIII    Negligent Failure to Test (Against Brand-Name       KS, TX
                        and Generic Manufacturer Defendants)
       ✘         IX     Negligent Product Containers: (Against Brand-       All States and
                        Name and Generic Manufacturers of pills)            Territories
       ✘         X      Negligent Storage and Transportation Outside the    All States and
                        Labeled Range (Against All Retailer and             Territories
                        Distributor Defendants)
       ✘         XI     Negligent Storage and Transportation Outside the    All States and
                        Labeled Range (Against All Brand-Name and           Territories
                        Generic Manufacturer Defendants)
                 XII    Negligent Misrepresentation (Against Brand-Name CA only
                        Manufacturers by Generic Consumers in
                        California)
                XIII    Reckless Misrepresentation (Against Brand-Name MA only
                        Manufacturers by Generic Consumers in
                        Massachusetts)




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      Check      Count                     Cause of Action                     States for which
      all that                                                                 the cause of action
      apply                                                                    was asserted in
                                                                               the AMPIC
        ✘         XIV     Unjust Enrichment (Against All Defendants)            All States and
                                                                                Territories
                  XV      Loss of Consortium (Against All Defendants)           All States and
                                                                                Territories
                  XVI     Wrongful Death (Against All Defendants)               All States and
                                                                                Territories
                          Other




                 If Count XV or Count XVI is alleged, additional facts supporting the claim(s):




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                                               V.     JURY DEMAND


             14.    Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.



                                         VI.        PRAYER FOR RELIEF

             WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

      inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

      action, jointly and severally to the full extent available in law or equity, as requested in the

      Amended Master Personal Injury Complaint.

Attorney 1 Signature:__________________________
                     John J. Bailly, Esq.                    Attorney 1 Signature:__________________________
Attorney 1 Print:______________________________
                 John J. Bailly, Esq.                        Attorney 1 Print:______________________________
Attorney 2 Signature:__________________________              Attorney 2 Signature:__________________________
Attorney 2 Print:______________________________              Attorney 2 Print:______________________________
Firm: ______________________________________
      Bailly and McMillan, LLP                               Firm: ______________________________________
Address 1: __________________________________
           707 Westchester Avenue Suite 4                    Address 1: __________________________________
Address 2: __________________________________                Address 2: __________________________________
City: ____________________________
      White Plans                                            City: ____________________________
State: ___________________________
       NY                                                    State: ___________________________
Zip: _____________
     10604                                                   Zip: _____________
Email: _____________________________________
       jbailly@bandmlaw.com                                  Email: _____________________________________
                                                                    acoppola@bandmlaw.com
Phone: ______________________
        9146849100                                           Phone: ______________________




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